             Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


KATHLEEN S. FAHERTY, on behalf of herself and                    Civil Case Number: _____________
all others similarly situated,

                         Plaintiff(s),                                      CIVIL ACTION

                                                                  CLASS ACTION COMPLAINT
                          -against-                                         AND
                                                                   DEMAND FOR JURY TRIAL
RUBIN & ROTHMAN, LLC, and JOHN DOES 1-25,

                         Defendant(s).

                                   PRELIMINARY STATEMENT

        1.       Plaintiff on behalf of herself and all others similarly situated (“Plaintiff”), by and

through his attorneys, alleges that the Defendants, RUBIN & ROTHMAN, LLC, (“R&R”) and

JOHN DOES 1-25 their employees, agents and successors (collectively “Defendants”) violated

15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act (hereinafter “FDCPA”), which

prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

                                   JURISDICTION AND VENUE

        2.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.

        3.       Venue is proper in this district under 28 U.S.C. §1391(b) and 15 U.S.C. §

1692k(d) because the acts of the Defendant that give rise to this action, occurred in substantial

part, in this district and at least one of the Plaintiffs resides in this jurisdiction.

                                             DEFINITIONS

        4.       As used in this complaint, the terms “creditor,” “consumer,” “debt” and “debt

collector” are defined at 15 U.S.C. § 1692a.

                                                PARTIES

                                               Page 1 of 12
            Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 2 of 13


       5.       Plaintiff is a natural person, a resident of Stamford, Connecticut and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

       6.       R&R maintains a location at 1787 Veterans Highway, Suite 32, Islandia, New

York 11749.

       7.       R&R uses the instrumentalities of interstate commerce or the mails to engage in

the principal business of collecting debt and/or to regularly engage in the collection or attempt to

collect debt asserted to be due or owed to another.

       8.       R&R, LLC is a “Debt Collector” as that term is defined by 15 U.S.C. §

1692(a)(6).

       9.       John Does 1-25, are currently unknown Defendants whose identities will be

obtained in discovery and at that time will be made parties to this action pursuant to the Federal

Rules of Civil Procedure (hereinafter “FRCP”); Rule 15, Rule 20 and Rule 21. Plaintiff’s claims

against the currently unknown Defendants arise out of the same transaction, occurrence or series

of transactions arising from known Defendant’s actions and are due to common questions of law

and fact whose joinder will promote litigation and judicial efficiency.

                                CLASS ACTION ALLEGATIONS

       10.      Plaintiff brings this action as a state-wide class action, pursuant to Rule 23 of the

FRCP, on behalf of himself and all Connecticut consumers and their successors in interest (the

“Class”), who were harmed by the Defendant’s conduct in violation of the FDCPA, as described

in this Complaint.

       11.      This Action is properly maintained as a class action. The Class is initially defined

as:

                     All Connecticut consumers to whom RUBIN & ROTHMAN,
                     LLC, sent initial letters and/or notice concerning a debt and/or
                     obligation owed to another, which included the alleged
                     conduct and practices described herein.

                                             Page 2 of 12
          Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 3 of 13


                   The class definition may be subsequently modified or refined.

                   The Class period begins one year prior to the filing of this
                   Action.

       13.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                   a. Numerosity: The Class is so numerous that joinder of all members is

                       impracticable because there are hundreds and/or thousands of persons who

                       were harmed by the Defendant’s conduct in violation of the FDCPA.

                       Plaintiff is complaining about a standard conduct that occurred to at least

                       fifty (50) persons.

                   b. Commonality: There are questions of law and fact common to the class

                       members which predominate over questions affecting any individual Class

                       member.       These common questions of law and fact include, without

                       limitation:

                       i.     Whether the Defendants violated various provisions of the

                              FDCPA;

                       ii.    Whether Plaintiff and the Class have been injured by the

                              Defendants' conduct;

                       iii.   Whether Plaintiff and the Class have sustained damages and are

                              entitled to restitution as a result of Defendants' wrongdoing and if

                              so, what is the proper measure and appropriate statutory formula to

                              be applied in determining such damages and restitution; and

                       iv.    Whether Plaintiff and the Class are entitled to declaratory relief.

                   c. Typicality: Plaintiff’s claims are typical of the Class, which all arise from

                       the same operative facts and are based on the same legal theories.

                                             Page 3 of 12
          Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 4 of 13


                   d. Adequacy of Representation: Plaintiff has no interest adverse or

                       antagonistic to the interest of the other members of the Class. Plaintiff will

                       fairly and adequately protect the interest of the Class and has retained

                       experienced and competent attorneys to represent the Class.

       14. A Class Action is superior to other methods for the fair and efficient adjudication of

the claims herein asserted. Plaintiff anticipates no unusual difficulties in the management of this

class action.

       15. A Class Action will permit large numbers of similarly situated persons to prosecute

their common claims in a single forum simultaneously and without the duplication of effort and

expense that numerous individual actions would engender. Class treatment will also permit the

adjudication of relatively small claims by many Class members who could not otherwise afford

to seek legal redress for the wrongs complained of herein. Absent a Class Action, class members

will continue to suffer losses of statutory protected rights as well as damages.

       16. Defendant(s) have acted on grounds generally applicable to the entire Class, thereby

making appropriate final relief with respect to the Class as a whole.

                                   STATEMENT OF FACTS

       17. Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       18. Sometime prior to April 20, 2021, Plaintiff allegedly incurred one or more financial

obligations ("OBLIGATION or OBLIGATIONS") to Bank of America, N.A. (“BOA”).

       19. The OBLIGATION arose out of a transaction, in which money, property, insurance

or services, which are the subject of the transaction, are primarily for personal, family or

household purposes.

       20. Plaintiff incurred the OBLIGATION by obtaining goods and services which were

primarily for personal, family and household purposes.
                                          Page 4 of 12
            Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 5 of 13


        21. Plaintiff did not incur the OBLIGATION for business purposes.

        22. The OBLIGATIONS did not arise out of a transaction that was for business use.

        23. Each OBLIGATION is a "debt" as defined by 15 U.S.C. § 1692a(5).

        24. At some time prior to April 20, 2021, the OBLIGATION was placed with R&R for

the purpose of collection.

        25. At the time the OBLIGATION was placed with R&R for the purpose of collection,

the OBLIGATION was past due.

        26. At the time the OBLIGATION was with R&R for the purpose of collection, the

OBLIGATION was in default.

        27. R&R caused to be mailed to Plaintiff a letter dated April 20, 2021, attempting to

collect the OBLIGATION. A copy of said letter is annexed hereto as Exhibit A.

        28. Upon receipt, Plaintiff read the April 20, 2021 letter.

        29. The April 20, 2021 letter was the first communication R&R had with Plaintiff.

        30. The April 20, 2021 letter was the first written communication R&R had with

Plaintiff

        31. The April 20, 2021 stated in part:

                       Dear Sir/Madam,

                       The enlosed is in response to your request for validation of debt.

                       The account was opened on 2/16/2001

        32. The envelope containing the April 20, 2021 letter did not contain a “enclosed

response”.

        33. At no time prior to April 20, 2021, did Plaintiff request validation of the alleged

BOA debt.




                                           Page 5 of 12
         Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 6 of 13


       34. On April 28, 2021, Plaintiff sent a letter to R&R explaining that she never requested

validation of the alleged debt, and that she never communicated with R&R regarding the alleged

debt. A copy of said letter is annexed hereto as Exhibit B.

       35. Section 1692g(a)(3),(4),(5) of the FDCPA requires the debt collector:


               Within five days after the initial communication with a consumer
               in connection with the collection of any debt… send the consumer
               a written notice containing ---

               (3)     a statement that unless the consumer, within thirty days
               after receipt of the notice, disputes the validity of the debt, or any
               portion thereof, the debt will be assumed to be valid by the debt
               collector.

               (4)     a statement that if the consumer notifies the debt collector
               in writing within the thirty-day period that the debt, or any portion
               thereof, is disputed, the debt collector will obtain verification of
               the debt or a copy of a judgment against the consumer and a copy
               of such verification or judgment will be mailed to the consumer by
               the debt collector; and

               (5)     a statement that, upon the consumer's written request within
               the thirty-day period, the debt collector will provide the consumer
               with the name and address of the original creditor, if different from
               the current creditor.


       36. The April 20, 2021, did not include the required validation notice pursuant to 15

U.S.C. §1692g(a)(3),(4),(5)

       37. R&R knew or should have known that its actions violated the FDCPA.

       38. R&R could have taken the steps necessary to bring their actions within compliance

with the FDCPA, but neglected to do so and failed to adequately review its actions to ensure

compliance with the law.

                         POLICIES AND PRACTICES COMPLAINED OF

       39. It is R&R's policy and practice to send written initial communications, in the form

annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

                                           Page 6 of 12
          Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 7 of 13


                (a)      Sending initial communications without providing the required validation
                         notice within five days of such communications; and

                (b)      Using false, deceptive or misleading representations or means in
                         connection with the collection of a debt;

        40. On information and belief, R&R engaged in the practices described herein, for at

least 40 natural persons within Connecticut within one year of this Complaint.


                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        41. Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        42. Section 1692g(a)(3),(4),(5) of the FDCPA requires the debt collector:


                Within five days after the initial communication with a consumer
                in connection with the collection of any debt… send the consumer
                a written notice containing ---

                (3)     a statement that unless the consumer, within thirty days
                after receipt of the notice, disputes the validity of the debt, or any
                portion thereof, the debt will be assumed to be valid by the debt
                collector.

                (4)     a statement that if the consumer notifies the debt collector
                in writing within the thirty-day period that the debt, or any portion
                thereof, is disputed, the debt collector will obtain verification of
                the debt or a copy of a judgment against the consumer and a copy
                of such verification or judgment will be mailed to the consumer by
                the debt collector; and

                (5)     a statement that, upon the consumer's written request within
                the thirty-day period, the debt collector will provide the consumer
                with the name and address of the original creditor, if different from
                the current creditor.

        43. R&R violated 15 U.S.C. § 1692g(a)(3),(4),(5) of the FDCPA by send the April 20,

2021 to Plaintiff, within providing the required validation notice, within five days of such

communication.
                                               Page 7 of 12
         Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 8 of 13


       44. R&R violated 15 U.S.C. § 1692e of the FDCPA by using any false, deceptive or

misleading representation or means in connection with its attempts to collect debts from Plaintiff

and others similarly situated.

       45. R&R violated 15 U.S.C. § 1692e of the FDCPA in connection with Plaintiff and

others similarly situated.

       46. 15 U.S.C. § 1692e(10) prohibits a debt collector from using any false representation

or deceptive means to collect or attempt to collect any debt.

       47. R&R violated 15 U.S.C. § 1692e(10) by sending the the April 20, 2021 to Plaintiff,

within providing the required validation notice, within five days of such communication.

       48. R&R further violated 15 U.S.C. § 1692e(10), because the April 20, 2021 letter read

in its entirety would lead the least sophisticated consumer unsure as to what she must do to

effectively dispute the debt.

       49. Congress enacted the FDCPA in part to eliminate abusive debt collection practices

by debt collectors.

       50. Plaintiff and others similarly situated have a right to free from abusive debt

collection practices by debt collectors.

       51. Plaintiff and others similarly situated have a right to have the Defendant abide by its

obligations under the FDCPA and those specifically found at 15 U.S.C. § 1692g(b).

       52. Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

       53. Plaintiff has suffered damages and other harm as a direct result of the Defendants’

actions, conduct, omissions and violations of the FDCPA described herein.

       54. R&R’s failure to act as described herein caused harm to the credit of Plaintiff and

others similarly situated.


                                           Page 8 of 12
          Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 9 of 13


        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

                (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and his attorneys as Class Counsel;

                (b)     Awarding Plaintiff and the Class statutory damages;

                (c)     Awarding Plaintiff and the Class actual damages;

                (d)     Awarding pre-judgment interest;

                (e)     Awarding post-judgment interest.

                (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.

Dated: May 11, 2021                           Respectfully submitted,

                                              s/ Joseph K. Jones
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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

                                              s/ Joseph K. Jones
                                              Joseph K. Jones, Esq.




                                           Page 9 of 12
Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 10 of 13




             Exhibit

                          A
                         Page 10 of 12
Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 11 of 13
Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 12 of 13




             Exhibit

                           B



                         Page 11 of 12
Case 3:21-cv-00650-AWT Document 1 Filed 05/12/21 Page 13 of 13
